Case 3:24-cv-30027-MGM Document 2-2 Filed 02/14/24 Page i1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supple the filing ai
provided by local rules of court. This form, approved by the Judicial Conference of the United States in Se
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS tA $ DEFENDANTS Sys 270 WV

(b) County of Residence of First Listed Plaintiff thampden J

(EXCEPT IN U.S. PLAINTIFF CASES)

JS 44 (Rev. 06/17)

ind service of pleadings or other papers as required by law, except as
ptember 1974, is required for the use of the Clerk of Court for the

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County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(€) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

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Il. BASIS OF JURISDICTION (Place an "“X” inOnt Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Pace an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
0 1 U.S. Government Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Nat a Party) Citizen of This State a © 1 Incorporated or Principal Place o4 o4
of Business In This State
O 2 US. Government O 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place oO5 as
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a O3 O 3 Foreign Nation o6 O6
Foreign Country

IV. NATURE OF SUIT (lace

an “X" in One Box

Only)

Click here for: Nature of Suit Code Descriptions.

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(EEE CONTRACT. TORTS FORFEITURE/PENALTY | BAI
O 110 Insurance PERSONAL INJURY PERSONAL INJURY |O 625 Drug Related Seizure O 422 Appeal 28 USC 158 D 375 False Claims Act
O 120 Marine © 310 Airplane O 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal 0 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability © 367 Health Care/ O 400 State Reapportionment
© 150 Recovery of Overpayment | (0 320 Assault, Libel & Pharmaceutical O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights O 430 Banks and Banking
O 151 Medicare Act 0 330 Federal Employers’ Product Liability 0 830 Patent O 450 Commerce
© 152 Recovery of Defaulted Liability ©) 368 Asbestos Personal O 835 Patent - Abbreviated 0 460 Deportation
Student Loans O 340 Marine Injury Product New Drug Application |0 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability O 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY BOR BC © 480 Consumer Credit
of Veteran's Benefits 0 350 Motor Vehicle © 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395ff) O 490 Cable/Sat TV
© 160 Stockholders’ Suits O 355 Motor Vehicle O 371 Truth in Lending Act O 862 Black Lung (923) © 850 Securities/Commodities/
© 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI © 890 Other Statutory Actions
O 196 Franchise Injury O 385 Property Damage O 740 Railway Labor Act O 865 RSI (405(g)) © 891 Agricultural Acts
O 362 Personal Injury - Product Liability 0 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act © 895 Freedom of Information
l REAL PROPERTY GFVIL RIGHTS PRISONER PETITIONS _|( 790 Other Labor Litigation FEDERAL TAX SUITS Act
OG 210 Land Condemnation 40 Other Civil Rights Habeas Corpus: O 791 Employee Retirement O 870 Taxes (U.S. Plaintiff © 896 Arbitration
O 220 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant) GO 899 Administrative Procedure
O 230 Rent Lease & Ejectment O 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
O 240 Torts to Land ©) 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations O 530 General © 950 Constitutionality of
O 290 All Other Real Property © 445 Amer. w/Disabilities - | 535 Death Penalty em IMMIGRATION State Statutes
Employment Other: O 462 Naturalization Application
O 446 Amer. w/Disabilities - |] 540 Mandamus & Other |0 465 Other Immigration
Other O 550 Civil Rights Actions
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0 560 Civil Detainee -
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Vv. IGIN (Place an “X" in One Box Only)
1 Original O 2 Removed from O 3° Remanded from O 4 Reinstatedor O 5 Transferred from © 6 Multidistrict 0 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): ; f 9 -
WES USC I072)_et Seg

VI. CAUSE OF ACTION

Brief description of cause:

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VII. REQUESTED IN OO CHECK IF THIS IS A CLASS ACTION DEMAND $ : CHECK YES only if ay in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: es ONo
VIII. RELATED CASE(S)
IF ANY (Bee mnsiructiony: TGR DOCKET NUMBER
DATE. = SIGNA RE OF/ATRORNEY OF RECORD D .
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

